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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                              CIVIL MINUTES - GENERAL


 Case No.         ED CV 19-1546-JGB (SHKx)                                                              Date      January 13, 2022
 Title      Faour Abdallah Fraihat, et al. v. U.S. Immigration and Customs Enforcement, et al.

 Present: The Honorable               Patrick J. Walsh (Ret.), Special Master
                   None                                                    None                                          None
                Deputy Clerk                                      Court Reporter / Recorder                             Tape No.
                Attorneys Present for Plaintiffs:                                      Attorneys Present for Defendants:
                       William Alderman                                                             James Walker
                       Elizabeth Jordan                                                              Ann Dichter
                        Benjamin Salk                                                              Jennifer Youngs
                         Susan Meyers                                                              Michelle Ramus
                         Shane Young                                                                Jeffrey Robins
                        James Granlick                                                                Sue Wong

 Proceedings:                     Minutes of January 13, 2022 Status Conferences with Special Master

         The Special Master called a status conference to address the rising rate of infections at the detention
facilities, presumably the result of the Omicron variant. The government provided an update and agreed to
provide Plaintiffs’ counsel with additional information that they requested during the hearing. (The
government later did provide that information.) The Special Master discussed future steps that could be
taken to try to stem the tide of infections. The government explained that, until the mandate is issued, it will
continue to abide by the district court’s orders even though the Ninth Circuit Court of Appeals has reversed
them but is not willing to take on any additional requests/demands/orders. The Special Master agreed to
report to Judge Bernal the current uptick in infections and to continue to monitor the conditions at the
facilities with the help of the government and Plaintiffs’ counsel.




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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

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